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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

                Plaintiff,

         v.                                                Case No. 05-cv-4224-JPG

 DARLENE L. TIPTON,

                Defendant.

                                MEMORANDUM AND ORDER

       This matter comes before the Court on the Notice of Dismissal (Doc. 2) with prejudice

pursuant to Federal Rule of Civil Procedure 41(a)(1)(i) filed by plaintiff United States of

America. Rule 41(a)(1)(i) allows dismissal of an action by a plaintiff without a court order at

any time before service by an adverse party of an answer or of a motion for summary judgment,

whichever first occurs. The defendant has not filed an answer or motion for summary judgment

in this case. Because the plaintiff has an absolute right to dismiss this case at the present time,

the Court finds that this action is DISMISSED with prejudice and DIRECTS the Clerk of

Court to enter judgment accordingly.

IT IS SO ORDERED.
DATED: June 14, 2006

                                               s/ J. Phil Gilbert
                                               J. PHIL GILBERT
                                               DISTRICT JUDGE
